
*928OPINION.
Marquette :
The question here presented has been fully considered and discussed in Mary Brent, Executrix, 6 B. T. A. 143, and Griffith Henshaw, Executor, 12 B. T. A. 1441, in which we held that the interest of the surviving wife in community property of the deceased husband and herself, both domiciled in California, is subject to the Federal estate tax imposed by the Revenue Acts of 1918 and 1921. The decision in the Eenshaw case was affirmed by the United States Circuit Court of Appeals for the 9th Circuit, 31 Fed. (2d) 946, and a petition for a writ of certiorari was denied by the Supreme Court of the United States. See also Talcott v. United States, 23 Fed. (2d) 897. These cases are decisive of this proceeding and on their authority we affirm the action of the respondent.

Judgment will be entered for the respondent.

